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                                                                                           January 19, 2024
                                                                                    U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT OF NEW YORK
  UNITED STATES DISTRICT COURT                                                      LONG ISLAND OFFICE
  EASTERN DISTRICT OF NEW YORK
                                  ,-------------X
  UNITED STATES OF AMERICA


        -    against -                                     Case No. : 2:23-mj-00865

  QIN HUI,
                                                           SUBSTITUTION OF COUNSEL


                              Defendant.
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        It is hereby agreed and consented that John S. Esposito, Arthur L. Aidala, Imran H.

 Ansari, and Michael T. Jaccarino of Aidala, Be1iuna & Kamins, P.C. be replaced and substituted

 by Benjamin B. Xue of Xue & Associates, P.C. as attorney ofrecord for Defendant Qin Hui.



 Dated: ~ \                 /&          , 2024


        OUTGOING ATTORNEYS:                         INCO:tvnNG ATTORNEY:

       Aidala, Bertuna & Kamins, P.C.



 By:                                         By:
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                                                         /s/: James M. Wicks
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